     Case 1:20-cv-01669-MN Document 3 Filed 12/18/20 Page 1 of 10 PageID #: 64



                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE


36 BUILDERS, INC., a Delaware
corporation, d/b/a INSIGHT HOMES,
and INSIGHT LAND COMPANY, LLC,
a Delaware limited liability company,

        Plaintiffs/Counter-Defendants,
                                                  Case No. 1:20-cv-01669-MN
v.
                                                  (Removed Case No. 2020-0861-MTZ)
JACK HUTCHINS HAESE,

        Defendant/Counter-Plaintiff.

                  DEFENDANTS’ ANSWER AND COUNTERCLAIMS

             Defendant, Jack Hutchins Haese, for his Answer to the Complaint, states as

follows:

        1.     Defendant admits that he served as CFO for 36 Builders, Inc., d/b/a

Insight Homes, until August 1, 2018, but denies all remaining factual assertions

contained within this paragraph. The paragraph is denied to the extent it contains

legal conclusions to which no response is required.

        2.     Denied and Defendant demands strict proof of the same. The paragraph

is also denied to the extent it contains legal conclusions to which no response is

required.

        3.     Admitted.

        4.     The legal conclusion stated in Paragraph 4 relates to the alleged

jurisdiction of a Delaware Court of Chancery. As noted in Defendant’s Notice of

                                              1
   Case 1:20-cv-01669-MN Document 3 Filed 12/18/20 Page 2 of 10 PageID #: 65



Removal, this court possesses jurisdiction of the case at bar pursuant to 28 U.S.C. §

1332.

        5.    The legal conclusion stated in Paragraph 5 relates to the alleged

jurisdiction of a Delaware Court of Chancery. The Defendant admits that the

Complaint alleges actions occurring in Sussex County, Delaware. Defendant denies

all other factual allegations and insinuations.

        6.    Admitted that Exhibit A is a true and correct copy of the Employment

Agreement between Defendant and 36 Builders, Inc., d/b/a Insight Homes.

        7.    Defendant admits to serving as Chief Financial Officer for 36 Builders,

Inc., d/b/a Insight Homes until resigning as alleged in paragraph 7. Defendant denies

all other factual allegations and insinuations.

        8.    Defendant admits to the allegations as they related to his service as Chief

Financial Officer for 36 Builders, Inc., d/b/a Insight Homes. Defendant denies all

other factual allegations and insinuations.

        9.    Defendant admits that the Employment Agreement outlines his

responsibilities as Chief Financial Officer for 36 Builders, Inc., d/b/a Insight Homes.

The terms and requirements of the Employment Agreement speak for themselves and

Defendant denies any attempt by Plaintiff to paraphrase or draw legal conclusions

from the terms. Defendant denies all other factual allegations and insinuations.

        10.   Defendant admits that the Employment Agreement outlines his

responsibilities as Chief Financial Officer for 36 Builders, Inc., d/b/a Insight Homes.

The terms and requirements of the Employment Agreement speak for themselves and

                                                  2
   Case 1:20-cv-01669-MN Document 3 Filed 12/18/20 Page 3 of 10 PageID #: 66



Defendant denies any attempt by Plaintiff to paraphrase or draw legal conclusions

from the terms. Defendant denies all other factual allegations and insinuations.

       11.    Admitted that on or about July 16, 2018 Defendant tendered his

resignation effective August 1, 2018. All other factual assertions of this paragraph are

denied.

       12.    Admitted.

       13.    Admitted.

       14.    Admitted that Defendant had contacts in the Sussex County development

community. Defendant denies all other factual allegations and insinuations.

       15.    Admitted

       16.    Denied.

       17.    Admitted that Defendant has had a business relationship with Fuqua and

Willard since 2004, long before his employment with 36 Builders Inc., d/b/a Insight

Homes. Defendant denies all other factual allegations and insinuations.

       18.    Admitted.

       19.    Defendant admits to emailing Fuqua on October 1, 2018. Defendant

denies all other factual allegations and insinuations.

       20.    Denied that 36 Builders, Inc., d/b/a Insight Homes owns Hawthorne

Development, LLC. All other factual assertions are admitted.

       21.    Defendant admits to preparing a letter to Rick King in February 2019,

after his employment with 36 Builders, Inc., d/b/a Insight Homes had terminated.

Defendant denies all other factual allegations and insinuations.

                                              3
   Case 1:20-cv-01669-MN Document 3 Filed 12/18/20 Page 4 of 10 PageID #: 67



       22.    Defendant admits to preparing a letter to Rick King in February 2019

after his employment with 36 Builders, Inc., d/b/a Insight Homes had terminated.

Defendant denies all other factual allegations and insinuations.

       23.    Defendant admits to exchanging emails with Kenny McLendon in March

2019 after his employment with 36 Builders, Inc., d/b/a Insight Homes had terminated.

Defendant denies all other factual allegations and insinuations.

       24.    Defendant admits to exchanging emails with Kenny McLendon in March

2019 after his employment with 36 Builders, Inc., d/b/a Insight Homes had terminated.

Defendant denies all other factual allegations and insinuations.

       25.    Defendant admits to preparing a letter to Jonathan Pentecost in May

2019 after his employment with 36 Builders, Inc., d/b/a Insight Homes had terminated.

Defendant denies all other factual allegations and insinuations.

       26.    Denied.

       27.    Denied.

       28.    Defendant admits to exchanging emails with Larry Ochsman in February

2019 after his employment with 36 Builders, Inc., d/b/a Insight Homes had terminated.

Defendant denies all other factual allegations and insinuations.

       29.    Denied.

       30.    Denied.

                        COUNT I – BREACH OF FIDUCIARY DUTY

       31.    Defendant repeats and incorporates by references his answers to

paragraphs 1 through 30.

                                             4
   Case 1:20-cv-01669-MN Document 3 Filed 12/18/20 Page 5 of 10 PageID #: 68



       32.    The allegations in this paragraph contain legal conclusions to which no

response is required. To the extent a response is required, the allegations are denied

and Defendant demands strict proof of the same.

       33.    The allegations in this paragraph contain legal conclusions to which no

response is required. To the extent a response is required, these allegations are denied

and Defendant demands strict proof of the same.

       34.    The allegations in this paragraph contain legal conclusions to which no

response is required. To the extent a response is required, these allegations are denied

and Defendant demands strict proof of the same.

                           COUNT II – BREACH OF CONTRACT

       35.    Defendant repeats and incorporates by references his answers to

paragraphs 1 through 34.

       36.    The allegations in this paragraph contain legal conclusions to which no

response is required. To the extent a response is required, these allegations are denied

and Defendant demands strict proof of the same.

       37.    The allegations in this paragraph contain legal conclusions to which no

response is required. To the extent a response is required, these allegations are denied

and Defendant demands strict proof of the same.

       38.    The allegations in this paragraph contain legal conclusions to which no

response is required. To the extent a response is required, these allegations are denied and

Defendant demands strict proof of the same.



                                              5
   Case 1:20-cv-01669-MN Document 3 Filed 12/18/20 Page 6 of 10 PageID #: 69



                                   AFFIRMATIVE DEFENSES

       39.    Plaintiffs’ Verified Complaint fails to state a cause of action against the

Defendant, either in law or in fact, upon which relief may be granted.

       40.    Defendant alleges that the service of process in this action was insufficient in

that Defendant was not served with process in conformity with the provisions of 10 Del. C.

§ 3104.



                                          JURY DEMAND

       41.    Defendant demands a trial by jury on all issues so triable.



                  COUNTERCLAIM – VIOLATION OF THE DELAWARE
                    WHISTLEBLOWERS’ PROTECTION ACT

       42.    Defendant’s counterclaim is for damages arising from violations of the

Delaware Whistleblowers' Protection Act (“DWPA”), 19 Del. C. §§ 1701 et seq.

       43.    This Court has subject matter jurisdiction over the claims asserted herein

pursuant to 28 U.S.C. §1332 in that the amount in controversy exceeds the sum or value of

$75,000, exclusive of interest and costs, and is between citizens of different States.

       44.    Venue is proper pursuant to 28 U.S.C. § 1391 in that a substantial part of the

events or omissions giving rise to the claim occurred in this judicial district.

       45.    During his tenure as CFO for 36 Builders, Inc., d/b/a Insight Homes, the

Counter-Plaintiff, Haese was responsible for the production of financial reports and

financial statements, to existing banking sources and bonding companies, doing business

with 36 Builders, Inc., d/b/a Insight Homes. In addition, Haese assisted in the preparing the
                                               6
   Case 1:20-cv-01669-MN Document 3 Filed 12/18/20 Page 7 of 10 PageID #: 70



personal financial statement of 36 Builders Inc.’s owner, Robert M. Lisle.

       46.    At this time, Haese arranged financing through Eagle Bank of Maryland,

Essex Bank of Maryland, both federally regulated financial institutions, and Adler

Financial Group (Dashco), a privately owned real estate investor. It was a part of the

Haese’s duties introduce 36 Builders, Inc., d/b/a Insight Homes to private equity sources.

Haese had conducted multiple transactions with these entities for other employers and

clients prior to his arrival employment with 36 Builders, Inc., d/b/a Insight Homes.

       47.    In Fall 2017, Haese became increasingly concerned over the financial

position of 36 Builders, Inc., d/b/a Insight Homes and related entities which were carrying

millions in past due payables, some exceeding 90 days. Haese and the accounting staff with

which he worked daily, endured countless phone calls from trade payable accounts, asking

for the accounts to be brought current.

       48.    In Spring 2018, Haese was contacted by representatives of the Delaware

Attorney General’s office, Consumer Affairs Division. The agent questioned why Robert

M. Lisle would not return his call or answer his correspondence. Subsequently, the

Attorney General’s office sent another letter, which the Plaintiff delivered to Lisle.

       49.    Working through counsel, Lisle entered into a plea agreement on behalf of 36

Builders, Inc., d/b/a Insight Homes, admitting guilt and paying a substantial fine for false

and misleading advertising.

       50.    At or around the same time, Haese noticed that the balances in the Maryland

Escrow accounts of 36 Builders, Inc., d/b/a Insight Homes. These accounts, opened for the

purpose of holding escrows pursuant to Maryland law, were depleted with little to no cash

                                              7
   Case 1:20-cv-01669-MN Document 3 Filed 12/18/20 Page 8 of 10 PageID #: 71



remaining despite multiple contracts for Maryland properties being built at that time.

       51.    Haese discussed the depletion with Amy Cavallini, the accounts’ Controller,

and was told that Lisle had instructed her to move the cash into the general operating

account of 36 Builders, Inc., d/b/a Insight Homes. Haese advised both the Cavallini and 36

Builders, Inc., d/b/a Insight Homes’s general counsel, Andrew Campanelli, that this act was

a violation of law.

       52.    Shortly thereafter, Lisle announced the hiring of Paula Sachs, a CPA by

training, and a past school friend of Lisle’s. Sachs was introduced as the new Chief

Financial Officer and Director of Financial Reporting for 36 Builders, Inc., d/b/a Insight

Homes.

       53.    After this announcement, Haese noticed that he had no further access to any

of the computer records despite his responsibility for various accounts under his

Employment Agreement with 36 Builders, Inc., d/b/a Insight Homes.

       54.    Haese confronted Lisle about the change in access and was told that Sachs

would prepare the financial statements from that point forward while Haese was to focus on

land deals and land entitlements, as well as banker, bonding, and equity relations.

       55.    In Summer 2018, while performing his recently diminished duties, Haese

noticed that “past due payables” had continued to rise and became concerned over

violations of 6 Del. C. § 3504 due to the existence of millions of dollars outstanding on

houses that had been settled 90-120 days prior. Haese confronted his superiors with these

issues and refused to sign further closing certifications he now knew to be false.

       56.    In light of his concerns over repeated violations of law and his diminished

                                             8
   Case 1:20-cv-01669-MN Document 3 Filed 12/18/20 Page 9 of 10 PageID #: 72



duties upon refusal to cooperate in such violations, Haese resigned on July 22, 2018, to be

effective August 1, 2018, from his positions with 36 Builders, Inc., d/b/a Insight Homes.

       57.    Throughout this time, Haese was an employee and 36 Builders, Inc., d/b/a

Insight Homes an employer as defined by the DWPA.

       58.    36 Builders, Inc., d/b/a Insight Homes violated the DWPA, when it

constructively discharged, threatened, and otherwise discriminated

against Haese regarding the terms, conditions, and privileges of his employment

because he reported and refused to assist in violations as defined in the DWPA.

       59.    As a direct and proximate result of the violation of the DWPA, Haese has

been injured and damaged as follows:

       a.     Loss of earnings and earning capacity, past, present, and future;

       b.     Loss of fringe benefits of employment;

       c.     Loss of pension benefits;

       d.     Anxiety, embarrassment, and humiliation, past, present, and future;

       e.     Mental anguish, past, present, and future;

       f.     Loss of social pleasure and employment, past, present, and future; and,

       g.     Any other injuries which because of their nature have not manifested

              themselves at the time of the filing of this Complaint.

       THEREFORE, Defendant respectfully requests judgment:

       a)     that Plaintiffs take nothing on their claims;

       b)     that Defendant have judgment against 36 Builders, Inc., d/b/a Insight Homes

in the amount to be decided at trial;

                                              9
  Case 1:20-cv-01669-MN Document 3 Filed 12/18/20 Page 10 of 10 PageID #: 73



     c)    that Defendant be awarded costs and reasonable attorney fees; and,

     d)    for such other relief as the court may deem just and proper.

Dated:            December 18, 2020            Respectfully submitted,

                                               /s/ Stephen P. Norman, Esquire
                                               Stephen P. Norman, Esquire
                                               30838 Vines Creek Road, Unit 3
                                               Dagsboro, DE 19939
                                               (302) 537-3788
                                               snorman@thenormanlawfirm.com

                                               Attorney for Jack Hutchins Haese




                                          10
